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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


POLYVISION CORPORATION,

               Plaintiff,

v.                                                            Case No. 1:03-CV-476

SMART TECHNOLOGIES INC. and                                   HON. GORDON J. QUIST
SMART TECHNOLOGIES CORPORATION,

            Defendants.
______________________________________/

SMART TECHNOLOGIES, INC.,

               Plaintiff,                                     Consolidated with:

v.                                                            Case No. 1:04-CV-713

POLYVISION CORPORATION and
PARAGRAM SALES COMPANY, INC.

            Defendants.
______________________________________/


                                            OPINION

       Plaintiff, PolyVision Corporation (“PolyVision”), has sued Defendants, Smart Technologies,

Inc. and Smart Technologies Corporation (collectively "Smart"), in Case No. 1:03-CV-476, alleging

that Smart is willfully infringing United States Patent No. 5,838,309 (the "'309 patent") and that

PolyVision is not infringing U.S. Patent Nos. 5,448,263 (the "'263 patent") and 6,141,000 (the "'000

patent"), owned by Smart. Subsequent to the filing of Case No. 1:03-CV-476, this Court received

a related case from the Eastern District of Virginia, captioned Smart Technologies Inc. v. PolyVision
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Corporation and Paragram Sales Company, Inc., which was assigned Case No. 1:04-CV-713 and

consolidated with Case No. 1:03-CV-476. In Case No. 1:04-CV-476, Smart alleges that PolyVision

and Defendant Paragram (a seller or distributor of PolyVision’s products), have infringed the ‘263

patent, the ‘000 patent, and two other patents owned by Smart, United States Patent Nos. 6,337,681

(the “‘681 patent”), and 6,747,636 (the “‘636 patent”) (collectively the “Martin patents”). All of the

patents in suit relate to whiteboard technology.

       The parties have engaged in extensive discovery and, at the least, exhaustive motion practice,

culminating in the filing of a number of motions for summary judgment. The Court has recently

issued its memorandum pertaining to claim construction issues for all of the patents. Now before

the Court are the following motions regarding the ‘309 patent: (1) PolyVision’s motion for partial

summary judgment that claims 6, 10, and 20 are infringed by Smart’s 500 Series Smart Board,

including Smart models 540, 560, and 580; (2) PolyVision’s motion for partial summary judgment

dismissing Smart’s “best mode” and “enablement defenses”; (3) PolyVision’s motion for partial

summary judgment that claims 6, 10, and 20 of the ‘309 patent are not anticipated; and (4) Smart’s

motion for summary judgment of non-liability regarding the ‘309 patent. Also before the court are

the following motions relating to the Martin patents: (1) PolyVision’s motion for partial summary

judgment of non-infringement and/or invalidity of claims 8 and 14-19 of the 636 patent; and (2)

Smart’s motion for summary judgment that PolyVision’s IBID, TS, and WT products infringe the

Martin patents.

       For the reasons set forth below, the Court rules as follows: (1) regarding PolyVision’s ‘309

patent, the Court concludes that Smart’s accused products do not infringe, and the Court will

therefore deny PolyVision’s third motion for summary judgment of infringement of the ‘309 patent


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and grant Smart’s motion for summary judgment regarding non-liability for infringement of the ‘309

patent; (2) regarding the validity of the ‘309 patent, the Court concludes that is not invalid and will

therefore grant PolyVision’s second motion for summary judgment dismissing Smart’s Section 112

defenses and PolyVision’s Fourth motion that the asserted claims of the ‘309 patent are not

anticipated; (3) regarding the use of the term “Windows™” in claims 8 and 14-19 of Smart’s ‘636

patent, the Court concludes that PolyVision’s accused products do not infringe because those claims

are limited to Windows 3.0 and 3.1 and earlier versions, which PolyVision’s products do not use,

and will therefore grant PolyVision’s first motion for summary judgment that it does not infringe

those claims of the ‘636 patent; and (4) regarding infringement of the Martin patents, the Court

concludes that PolyVision’s accused products infringe all of the asserted claims except claims 13,

14, and 16 of the ‘636 patent.

                                  Summary Judgment Standard

       Summary judgment is appropriate if there is no genuine issue as to any material fact and the

moving party is entitled to a judgment as a matter of law. Fed. R. Civ. P. 56. Material facts are facts

which are defined by substantive law and are necessary to apply the law. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 2510 (1986). A dispute is genuine if a reasonable jury

could return judgment for the non-moving party. Id.

       The court must draw all inferences in a light most favorable to the non-moving party, but may

grant summary judgment when “the record taken as a whole could not lead a rational trier of fact to

find for the non-moving party.” Agristor Financial Corp. v. Van Sickle, 967 F.2d 233, 236 (6th Cir.

1992) (quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587, 106 S.

Ct. 1348, 1356 (1986)).


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                                             Discussion

I.     Motions Pertaining To The ‘309 Patent

       A.      Infringement

       PolyVision requests summary judgment on its claim that Smart’s 500 Series whiteboards,

including models 540, 560, and 580 (the “SB5 whiteboard"), infringe claims 6, 10, and 20 of the

‘309 patent. PolyVision contends that the SB5 infringes those claims either literally or under the

doctrine of equivalents. Smart has filed its own motion for summary judgment regarding non-

liability – the counterpart to PolyVision’s motion – that claims 6, 10, and 20 are not infringed by the

SB5 whiteboard, either literally or under the doctrine of equivalents.

       An accused device may be found to infringe a claim either literally or under the doctrine of

equivalents. “Literal infringement of a claim occurs when every limitation recited in the claim

appears in the accused device, i.e., when ‘the properly construed claim reads on the accused device

exactly.’” KJC Corp. v. Kinetic Concepts, Inc., 223 F.3d 1351, 1358 (Fed. Cir. 2000) (quoting Arnhil

Enters., Ltd. v. Wawa, Inc., 81 F.3d 1554, 1562 (Fed. Cir. 1996)). A court may grant summary

judgment on an issue of literal infringement if “no reasonable jury could find that every limitation

recited in the properly construed claim either is or is not found in the accused device.” Bai v. L &

L Wings, 160 F.3d 1350, 1353 (Fed. Cir. 1998). Even if a claim limitation is not literally present in

the accused device, the claim may still be infringed if equivalents of those limitations are present.

See Allen Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1345 (Fed. Cir. 2002). “Equivalence

may be established by a showing by preponderant evidence that an element of an accused device

does substantially the same thing in substantially the same way to get substantially the same result

as the claim limitation.” Id. at 1345 (internal quotations omitted). Summary judgment is proper


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under the doctrine of equivalents where no reasonable juror could conclude that a claim limitation

is met in the accused device by an equivalent. See Warner-Jenkinson Co. v. Hilton Davis Chem. Co.,

520 U.S. 20, 39 n.8, 117 S. Ct. 1040, 1053 n.8 (1977).

               1.     Claim 6

       Claim 6 depends upon claim 1, both of which are set forth below.

       1.      A self-tensioning membrane digitizer comprising:

       a support structure defining a digitizer area and including spacer means;

       a tensioned membrane disposed in spaced relationship to said support structure on
       said spacer means; and

       a peripheral flexible member extending from said support structure and including at
       least two independently flexible sections attached to said membrane and pretensioned
       counter to the tension of said tensioned membrane for deflecting to maintain tension
       on said membrane to sustain the spaced relationship with the membrane relative to
       the structure.

       6.      The self-tensioning membrane digitizer claim 1 in which said support
       structure includes a base and a support substrate mounted on the inside of said base,
       said spacer means being mounted on said support substrate, said flexible sections
       extending away from said base and toward said digitizer area.

Below is a reproduction of Smart’s SB5 system.




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       Although the parties argue about the presence or absence of most or all of the limitations of

claim 6 in the SB5 system, the Court finds the dispositive issue in the infringement analysis to be

whether the peripheral flexible member of the SB5 system, shown above as element G, is

“pretensioned.” With regard to the other limitations, based upon its construction of the disputed

claim terms, the Court agrees with PolyVision that they are present in the SB5 system, but finds it

unnecessary to set forth its reasoning in detail.

       Regarding the term “pretensioned,” the Court has adopted the following construction offered

by Smart: “Flexible member is pushed in a direction to impart or store spring tension in that member

before the attachment of the membrane to the flexible member.” The Court observed in its claim

construction Memorandum that “pretensioning” according to the above construction is the essence

of the “self tensioning” feature of the invention. It is undisputed that the flexible members or

“wings” of the SB5 are not “pretensioned.” Rather, the membrane F is glued to the wings G and the

wings are then riveted to the base D. The wings of the SB5 are not pushed to store spring energy as

in the invention of the ‘309 patent. This element is missing from the SB5 system, both literally and

by equivalents. Moreover, because the wings are not “pretensioned,” the SB5 is not, by definition,

a self-tensioning membrane digitizer.

               2.      Claim 10

       Because claim 10 depends on claim 6, the SB5 also does not infringe this claim because it

is not a self-tensioning membrane digitizer. In addition, claim 10 contains the limitation that the

“flexible sections are integral.” The Court has construed integral as meaning that the base and

flexible section are constructed as a single piece. Under this construction, the SB5 does not infringe




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this claim because the base, or backboard, and the flexible sections, or wings, are not formed as a

single piece, but, rather, the flexible sections are riveted to the base.

                3.      Claim 20

        Claim 20 depends upon claim 15, both of which are set forth below.

        15.     A self-tensioning membrane digitizer comprising:

        a support structure defining a digitizer area;

        a membrane disposed in spaced relationship to said support structure; and

        a flexible member attached to said support structure and in contact with said
        membrane, said flexible member biased to tension said membrane and to maintain
        a spaced relationship of the membrane relative to the digitizer area.

        20.     The self-tensioning membrane digitizer of claim 15 in which said support
        structure includes a base and a support substrate mounted on the base, a spacer means
        mounted on said support substrate, said membrane stretched over said spacer means,
        said flexible member extending upwards from said base.

        As is the case with claims 6 and 10, the Court finds that the dispositive issue in the

infringement analysis is whether the SB5 has a flexible member “biased to tension the membrane,”

which the parties agree has the same meaning as “pretensioned.” As discussed above, the wings or

flexible members of the SB5 system are not “biased to tension the membrane” or “pretensioned”

because they are not pushed to impart spring energy prior to the attachment of the membrane. For

that reason, the SB5 system is not a self-tensioning membrane digitizer as disclosed in claim 20.

Thus, the SB5 does not infringe claim 20.

        B.      Invalidity

        Smart has raised as a defense and as a counterclaim that the ‘309 patent is invalid pursuant

to 35 U.S.C. § 102 as being anticipated by various prior art references. PolyVision and Smart have



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both moved for summary judgment on this defense. Although the Court has concluded that Smart’s

products do not infringe the ‘309 patent, the Court must address Smart’s claim of invalidity because

“the validity or enforceability of a patent raises issues beyond the initial claim of infringement that

are not disposed of by a decision of non-infringement.” Fort James Corp. v. Solo Cup Co., 412 F.3d

1340, 1348 (Fed. Cir. 2005).

       “An issued patent is presumed to be valid, and the burden of establishing invalidity as to any

claim of a patent rests upon the party asserting such invalidity.” Impax Labs., Inc. v. Aventis

Pharms., Inc., 468 F.3d 1366, 1378 (Fed. Cir. 2006) (citing 35 U.S.C. § 282). The party seeking to

invalidate a patent must present clear and convincing evidence. See id. Invalidity upon the ground

of anticipation by prior art under 35 U.S.C. § 102 requires a finding that “each and every limitation

is found either expressly or inherently in a single prior art reference.” Celeritas Techs., Ltd. v.

Rockwell Int’l Corp., 150 F.3d 1354, 1361 (Fed. Cir. 1998). Although anticipation is a question of

fact, see Upsher-Smith Labs., Inc. v. Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005),

summary judgment is appropriate, as in any other type of case, where there is no genuine issue of

material fact regarding the presence or absence of limitations in the prior art. See id.

       Smart has identified four prior art references which it claims anticipate the ‘309 patent.

Those references are U.S. Patent No. 4,289,925 to Lambden (the “‘925 patent”); U.S. Patent No.

3,959,585 to Mattes, et al. (the “‘585 patent”); the AT&T Gemini Board; and Smart’s prior SB2

tensioning system.

               1.      The ‘925 Patent

       The ‘925 patent discloses an “electrographic apparatus” or a “transducer pad”, having a

concave base (1) and a membrane (4) tensioned by a frame (5). In this invention, the frame is


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mounted on top of the base. The center portions of each side of the frame are compressed inwardly

and the membrane is then attached to the compressed frame. Tension is applied to the membrane

when the frame is released from its compressed state and the frame expands.

       The Court concludes that the ‘925 patent does not anticipate the ‘309 patent for several

reasons. With regard to claim 6, although the ‘309 patent discloses a base, it does not include the

limitation, “a support substrate mounted on the inside of said base, said spacer means being mounted

on said support substrate.” Smart’s contention that the “resistive surface 3" is a support substrate

fails because the resistive surface supports nothing. It is screwed into the base inside the nib 2,

which in Figs. 1, 5, and 6 serves as the spacer between the flexible membrane and resistive surface.

In addition, to the extent that the frame, shown as 5 in Fig. 1 and 14 in Figs. 5-7, is considered a

flexible member, it is mounted on top of the base and does not extend from the edge of the base or

support structure in accordance with the Court’s construction of claim 6. In addition to the foregoing

reasons, the ‘925 patent does not anticipate claim 10 for the additional reason that the base and the

flexible sections are not integral. Finally, the ‘925 patent does not anticipate claim 20 because it

does not contain the limitation, “a support substrate mounted on the base, a spacer means mounted

on said support substrate.”

               2.      The ‘585 Patent

       The ‘585 patent discloses a “graphic input terminal.” It includes a plywood base with a

spacer board placed on top of the base. Plastic spacers are placed on the base. The membrane is

stretched over the spacer board and screwed into the opposing side of the plywood base. Two rows

of 1 cm diameter neoprene tubing are placed around the perimeter of the spacer board.




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        This prior art does not anticipate claims 6 and10 for the obvious reason that the top

 membrane is not attached to the flexible sections (identified by Smart as the neoprene tubing). In

 addition, the neoprene tubing does not extend from the edge of the support structure, and it is not

 “pretensioned” in accordance with the Court’s construction of that term. Also, with regard to claim

 10, the flexible sections and the base are not integral. With regard to claim 20, the flexible member

 (neoprene tubing) is not attached to the support structure, nor is it “biased to tension said

 membrane,” or “pretensioned.”

                3.      The AT&T Gemini

        The AT&T Gemini Board was apparently the commercial embodiment of the ‘585 patent

 obtained by Smart’s expert, Dr. Hans Mattes, and others, while Dr. Mattes was employed at Bell

 Laboratories in the early 1970s. During discovery, Smart’s counsel provided a drawing of the

 Gemini created by Smart’s counsel. In its response to PolyVision’s motion for summary judgment

 regarding anticipation, Smart submitted a declaration by Dr. Mattes in which he states that he has

 viewed the Gemini. In his declaration, Dr. Mattes describes the Gemini board that he examined

 and provides pictures of it.

         Based upon the evidence that Smart has submitted, the Court concludes that the Gemini does

 not anticipate the ‘309 patent. With regard to claim 6, Smart’s argument regarding the peripheral

 flexible member is difficult to follow, but in any event, to the extent that Smart contends that the

 presser bar and/or spring clips constitute a peripheral flexible member, the argument must fail. First,

 the four presser bars are not connected and, therefore, the presser bars cannot form independently

 flexible sections of the flexible member. The same is true if Smart contends that the spring clips are

 the peripheral flexible member. Second, if Smart contends that the presser bars and spring clips are


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 the peripheral flexible member, they do not extend from the edge of the support structure. Rather,

 the presser bar and the spring clips, in combination, are pressed against and held tight to the support

 structure. Finally, there is no indication that the membrane is attached to the asserted flexible

 sections. Apart from the lack of “a peripheral flexible member extending from said support structure

 and including at least two independently flexible sections attached to said membrane,” the flexible

 sections are not pretensioned, as this Court has construed the term.

        In addition to the above reasons, claim 10 is not anticipated because the base and the flexible

 sections are not integral. With regard to claim 20, because the presser bar and the spring clips are

 clamped to or pressed against the base, they do not extend upwards from the base. Moreover, the

 flexible members are not “biased to tension” the membrane, or “pretensioned.”

                4.      The SB2 Tensioning System

        This was the tensioning system that Smart used prior to the current allegedly infringing

 system. The SB2 system has a composite backboard with a metal C-channel around the perimeter.

 A rigid wing is attached to the C-channel by a screw, and the membrane is glued to the wing.

        As was the case with the other prior art, the SB2 system does not anticipate the ‘309 patent

 because it lacks various limitations. First, with regard to claim 6: (1) the SB2 has no peripheral

 flexible member or flexible sections because the C-channels and aluminum wings are fixed in place

 and are not flexible; and (2) there are no independent flexible sections that are “pretensioned.” With

 regard to claim 10, any conceivable flexible sections are not integral with the base. Finally, with

 regard to claim 20: (1) there are no flexible sections extending away from the base; and (2) there

 are no flexible sections “biased to tension said membrane.”




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         C.      PolyVision’s Motion For Partial Summary Judgment Regarding Invalidity
                 Under Section 112

         Smart asserts in its counterclaim that the ‘309 patent is invalid because it fails to comply with

 section 112's “best mode” and “enablement requirements.” Pursuant to 35 U.S.C. § 112, ¶ 1, a

 specification in a patent “shall contain a written description of the invention, and . . . shall set forth

 the best mode contemplated by the inventor of carrying out his invention.” This language embodies

 the “best mode” requirement, the purpose of which is to preclude an applicant from applying for a

 patent while at the same time concealing from the public preferred embodiments which the inventor

 has, in fact, conceived. See Young Dental Mfg. Co. v. Q3 Special Prods., Inc., 112 F.3d 1137, 1144

 (Fed. Cir. 1997). In addition to setting forth the best mode, a specification must set forth “the

 manner and process of making and using [the invention], in such full, clear, concise, and exact terms

 as to enable any person skilled in the art to which it pertains . . . to make and use the same.” 35

 U.S.C. § 112, ¶ 1. This language embodies the “enablement” requirement, the purpose of which “is

 to ensure that ‘the public knowledge is enriched by the patent specification to a degree at least

 commensurate with the scope of the claims.’” Warner-Lambert Co. v. Teva Pharmaceuticals USA,

 Inc., 418 F.3d 1326, 1336 (Fed. Cir. 2005) (quoting Nat’l Recovery Techs., Inc. v. Magnetic

 Separation Sys., Inc., 166 F.3d 1190, 1195-96 (Fed. Cir. 1999)). The Federal Circuit has recognized:

                  The best mode requirement differs from the enablement requirement, for
         failure to enable an invention will produce invalidity whether or not the omission was
         deliberate, whereas invalidity for omission of a better mode than was revealed
         requires knowledge of and concealment of that better mode.

 CardiacPacemakers, Inc. v. St. Jude Med., Inc., 381 F.3d 1371, 1378 (Fed. Cir. 2004).

         “To establish invalidity for failure to disclose the best mode, the party seeking to invalidate

 the patent must present clear and convincing evidence that the inventor both knew of and concealed


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 a better mode of carrying out the claimed invention than was set forth in the specification.” Young

 Dental Mfg. Co., 112 F.3d at 1144. The best mode requirement involves two factual inquiries: (1)

 whether, from a subjective standpoint, at the time of the patent application, the inventor knew of a

 mode of practicing the claimed invention that he considered to be better than any other; and (2) if

 the inventor had a best mode, whether the specification adequately disclosed the best method to

 enable a person of ordinary skill in the part to practice the invention. See id. The best mode

 requirement does not “demand disclosure of every preference an inventor possesses as of the filing

 date.” Bayer AG v. Schein Pharms., Inc., 301 F.3d 1306, 1314-15 (Fed. Cir. 2002). Instead, “the

 best mode requirement only refers to the invention defined by the claims.” Id. at 1315. So-called

 “production details,” a term which refers both to commercial considerations that do not affect the

 quality or nature of the invention, as well as routine details – details that would be apparent to one

 of ordinary skill in the art regardless of disclosure – need not be disclosed to meet the best mode

 requirement. See Young Dental Mfg., 112 F.3d at 1144. Generally, cases holding claims invalid for

 failure to meet the best mode requirement “involved either failure to disclose a preferred

 embodiment, or else failure to disclose a preference that materially affected making or using the

 invention.” Bayer AG, 301 F.3d at 1316.

        Smart asserts its best mode defense based upon the following alleged failures to disclose:

 (1) the substrate “sandwich” structure with steel cladding on the top and on the bottom of a foam

 core, which structure was selected by the named inventors due to what they considered to be critical

 weight and “flatness” considerations; (2) the “flatness specification” of the digitizer “base” that

 might enable the digitizer to be constructed without “spacer dots”; (3) the top sheet lamination

 construction; (4) the bottom sheet lamination construction; (5) the mechanical jigs or fixtures used


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 to “pretension” the claimed resilient members; (6) the touch algorithm, required to determine that

 the top sheet had been touched by a user; (7) the strip contacts used on the top sheet and the bottom

 sheet and the particular manner in which those strip contacts were attached to electrical leads that

 were then secured to the free end of the pretensioned flexible members, to prevent shorting out of

 the electrical leads when the top sheet is wrapped around the bottom sheet and the pretensioned

 flexible members; and (8) the required attachment of the top sheet to the back of the substrate and

 the lower part of the pretensioned members.

        In support of its motion, PolyVision presents declarations by two of the inventors of the ‘309

 patent, Bernard O. Geaghan (“Geaghan”) and Stephen R. Robsky (“Robsky”). Geaghan and Robsky

 both state that the inventors disclosed their best mode of the invention, which is shown in Figure 1

 of the ‘309 patent. (Geaghan Decl. ¶ 10; Robsky Decl. ¶ 9.) Geaghan states that the invention is

 directed to the tensioning mechanism of the touch membrane digitizer boards and that the particular

 structure or nature of the board, including the panel or conductive surface, was not part of the

 invention. (Geaghan Decl. ¶ 11.) He notes that various types of backer boards were used in digitizer

 board art and other applications, that these backer boards were well-known in the industry, and that

 Smart had used the honeycomb-type board with success. (Id. ¶¶ 5, 13-14.) Similarly, Geaghan

 confirms that the other items in Smart’s list, such as the laminated construction of the sheets or

 membranes and jigs or fixtures, were either well known in the industry and would have been

 immediately apparent to one skilled in the art or were a mere production mechanism that was not

 part of the claimed invention. (Id. ¶¶ 17, 20-24.) Smart defends the motion based upon the prior

 deposition testimonies of Geaghan and Robsky. However, the testimony is taken out of context and

 does not show that the inventors withheld the best mode. Geaghan testified that the inventors


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 thought that Figure 1 of the ‘309 patent was the best mode. (Geaghan Dep. at 57.) Moreover,

 nothing in his deposition is contrary to his declaration that many of the items cited by Smart would

 have been apparent to one skilled in the art or that those items were not important to the claimed

 invention. Robsky’s deposition testimony also does not support Smart’s defense. The testimony that

 Smart cites concerns Robsky’s thoughts in general on practices by applicants seeking to obtain

 patents, not on what happened with the ‘309 patent. Moreover, Smart fails to rebut PolyVision’s

 argument and evidence that many of the items that Smart says should have been disclosed do not

 relate to the invention – a tensioning system – and there is no evidence that the inventors considered

 any undisclosed aspect of their invention to be a best mode. Thus, PolyVision is entitled to summary

 judgment on this issue.

        In order to meet the enablement requirement, “the specification must provide sufficient

 teaching such that one skilled in the art could make and use the full scope of the invention without

 undue experimentation.” Warner-Lambert Co., 418 F.3d at 1337. Considerations bearing on the

 issue of enablement include: “(1) the quantity of experimentation necessary, (2) the amount of

 direction or guidance presented, (3) the presence or absence of working examples, (4) the nature of

 the invention, (5) the state of the prior art, (6) the relative skill of those in the art, (7) the

 predictability or unpredictability of the art, and (8) the breadth of the claims.” Id. (quoting In re

 Wands, 858 F.2d 731, 737 (Fed. Cir. 1988)). A party seeking to maintain an enablement defense

 must present clear and convincing evidence that the invention is not enabled. See Invitrogen Corp.

 v. Clontech Labs., Inc., 429 F.3d 1052, 1072 (Fed. Cir. 2005).

        The Court concludes that PolyVision is also entitled to summary judgment on enablement.

 Smart’s enablement claim is based upon the same failures to disclose that it cited above regarding


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 best mode. PolyVision has presented evidence that the information that Smart contends should have

 been disclosed was well-known in the industry and was not required to be disclosed in order to

 enable a person of ordinary skill in the art to practice the invention. Smart has not presented any

 evidence in an attempt to support this argument, such as expert testimony that a person of ordinary

 skill could not practice the invention. Therefore, Smart’s enablement claim fails.

 II.    Motions Regarding the Martin Patents

        A.      PolyVision’s Motion For Partial Summary Judgment Re: Non-infringement
                And/Or Invalidity Of Claims 8 and 14-19 Of The ‘636 Patent

        The Martin Patents disclose an interactive display system that includes a touch-sensitive

 screen, a computer, and a projector. The touch-sensitive display is configured to sense pressure

 applied to the display screen and, in response, generate control signals indicating locations of the

 applied pressure, which are sent to the computer. The computer contains a driver that is configured

 to receive the control signals. The computer is configured to execute application programs that

 generate graphical images based upon the control signals. The images are sent to the projector,

 which projects them onto the touch-sensitive screen at the indicated locations. The display system

 includes a calibration routine to correct for the effects of “keystoning,” which occurs when an image

 is projected off-center. The ‘636 patent relates to the calibration routine.

        PolyVision requests that the Court enter partial summary judgment that claims 8 and 14-19

 of the ‘636 patent are invalid and/or not infringed by PolyVision’s “TS” and “Walk and Talk”

 whiteboards. Each specified claim contains a limitation specifying that the computer in the

 interactive display apparatus be configured or capable of running an application program in a

 “Windows™ operating system environment” or having a driver “having code for interacting with



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 an application running in conjunction with Windows™ software.” The specification states that the

 “MicroSoft 3.0 Windows™ program environment” is used.

         The Court has substantially ruled on this motion in its claim construction Memorandum, in

 which it concluded that the claim terms “Windows™ operating system environment” and

 “Windows™ software on the computer” as set forth in claims 8, 14-19 of the ‘636 patent should be

 limited to “Microsoft Windows Version 3.0.” Because it is undisputed that PolyVision’s accused

 products do not use Windows 3.0 or 3.1, as the Court has allowed in its claim construction, or earlier

 Windows operating systems, PolyVision’s products do not literally infringe claims 8 and 14-19 of

 the ‘636 patent. The only remaining issue is whether Smart should be permitted to raise the doctrine

 of equivalents. The Court concludes that it should not be permitted to do so because it has waived

 such a claim by failing to assert it in a timely manner. It failed to raise the issue in its discovery

 responses or in a timely-filed expert report. Instead, it first disclosed this argument in its response

 to PolyVision’s motion for summary judgment in a declaration from its expert, Randall Davis, Ph.D.

 Because Smart’s tardy disclosure effectively precluded PolyVision from developing this issue during

 discovery, the Court will grant PolyVision’s motion for summary judgment.

         B.      Smart’s Motion For Summary Judgment That PolyVision’s Ibid, TS, and WT
                 Products Infringe Smart’s Martin Patents

         Smart has moved for summary judgment on its claim that PolyVision’s IBID, Webster

 Touch-Sensitive (TS), and Webster Walk-and-Talk (WT) interactive whiteboards infringe claim l

 of the ‘263 patent, claim 27 of the ‘000 patent, claims 17, 21, 57, and 58 of the ‘681 patent, and

 claims 6, 9, 11-14, and 16 of the ‘636 patent. Smart alleges that PolyVision infringes its patents

 literally or under the doctrine of equivalents, or, alternatively, contributorily infringes and/or induces



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 infringement. In light of its ruling that PolyVision does not infringe claims 14-19 of the ‘636 patent,

 the Court will deny Smart’s motion with regard to those claims. Because Smart contends that

 PolyVision’s accused products infringe other claims of the Martin patents not asserted in the instant

 motion, the claims at issue in this motion will be referred to as the “asserted claims.”

        PolyVision acquired the IBID interactive whiteboard product in approximately 2000 from

 MicroTouch Systems, Inc. In 2001, PolyVision renamed the IBID products the Webster Touch-

 Sensitive (TS) Series of interactive whiteboard products. The Webster TS product comes with

 software that is designed for use in various environments, such as a conference room or a training

 room. The software is a 32-bit application that can be run on any PC (200 MHZ or higher) that is

 running the Windows™ operating system. The software allows the user to do a number of things,

 including capturing notes and annotations that are written on the touch-sensitive board. Before the

 name change, the IBID software included at least versions 2.0 and 2.1. Following the name change,

 the Webster software has included at least versions 2.2, 3.0, 3.1, 3.2, 3.3, and 3.4. The Webster TS

 boards come in three sizes: 45"x35" (Model TS 400); 65"x43" (Model TS 600); and 95"x43" (Model

 TS 800). PolyVision also produces a line of whiteboard products known as the Webster Walk-and-

 Talk (WT) series. The primary difference is that the WT product has a remote control that allows

 the user to interact with the touch-sensitive board while walking around a room. The WT product

 has its own software and, for more advanced features, uses the Webster TS software. The WT

 product comes in three models: 45"x35" (Model WT 1400); 65"x43" (Model WT 1600); and

 95"x43" (Model WT 1800).

                1.      Direct Infringement

        “[W]hoever without authority makes, uses, offers to sell, or sells any patented invention,

 within the United States or imports into the United States any patented invention during the term of

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 the patent therefor infringes the patent.” 35 U.S.C. § 271(a). Infringement under this Section, or

 direct infringement, may be established by “evidence that one or more claims of the patent read on

 the accused device literally or under the doctrine of equivalents.” Cross Med. Prods., Inc. v.

 Medtronic Sofamor Danek, Inc., 424 F.3d 1293, 1310 (Fed. Cir. 2005). The Federal Circuit has held

 that when an accused device is capable of operating in an infringing manner, even though it may not

 have been designed or sold to operate in such a manner, the device must be deemed to infringe. See

 Intel Corp. v. United States Int’l Trade Comm’n, 946 F.2d 821, 832 (Fed. Cir. 1991) (“Because the

 language of claim 1 refers to ‘programmable selection means’ and states ‘whereby when said

 alternate addressing mode is selected’ (emphasis added), the accused device, to be infringing, need

 only be capable of operating in the page mode.”)

        PolyVision contends that its products cannot directly infringe any of the asserted claims

 because all of the Martin Patents specify either a “projector” or a “projected image,” and it is

 undisputed that its accused products are not manufactured, sold, or shipped with a computer or

 projector and that nothing in the shipped product has the capability of displaying a computer-

 generated image on PolyVision’s touch-sensitive whiteboard products. As Smart correctly notes,

 however, claims 6 and 11 of the ‘636 patent do not specify a projector or a computer. Rather, claim

 6 is limited to “a display screen” and “a driver configured to execute an alignment procedure during

 initialization of said display apparatus.” (Col. 16, ll. 3, 8-10.) Similarly, claim 11 does not specify

 a computer or a projector as limitations. Rather, that claim includes “structure configured to be

 coupled to a large-screen display surface and generating a control signal in response to pressure

 applied at the large-screen display surface,” “a driver installable in a computer and having code for

 interacting with an application program that is configured to support simultaneous operation of

 multiple programs,” and “code installable in the computer and configured to cause the computer, in

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 response to user input, to display, on the large-screen display surface and within the edges of the

 computer-generated image, a plurality of alignment images including an alignment marker.” Thus,

 this claim recites only the software features of the device.

          In support of its infringement argument, Smart relies upon the report and supplemental

 report of its expert witness, Randall Davis, Ph.D. Dr. Davis supports his report and conclusion of

 infringement with a claim chart analyzing the claim elements and the corresponding structures and/or

 functions of the accused products, based upon various PolyVision user guides and brochures. With

 regard to claims 6 and 11 of the ‘636 patent, Dr. Davis concludes that PolyVision’s Webster TS and

 WT interactive whiteboard products literally infringe those claims.1

         PolyVision offers several reasons why there is no infringement. With regard to claim 6,

 PolyVision argues that the claim is invalid because there is no antecedent basis for “the computer”

 and the claim is therefore indefinite. It also argues that the Webster software is not “configured to

 execute an alignment procedure during initialization” because the PolyVision drivers execute their

 alignment procedures only upon a command from the user. Next, it contends that the Webster

 software does not cause the computer to display a plurality of calibration images including a

 calibration marker. It points out that there are no “calibration markers”; rather, it notes, there is a

 single projected image in the form of a rectangle and that users touch the corners of the rectangle to

 perform the alignment procedure. Finally, PolyVision argues that the Webster software, in its default

 mode, is not configured to use previous mapping of the display surface to the projected image

 because it starts from scratch each time it is executed. With regard to claim 11, PolyVision asserts

 that the Webster software does not infringe because it does not cause the image projected on the

         1
           Dr. Davis also concludes that a series of interactive whiteboards known as the PTS series that PolyVision
 Produced for Defendant Paragram Sales Company, Inc. also infringes. The PTS series is apparently a re-branded
 version of the W ebster TS.

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 large-screen display surface to align with the locations on the large-screen display where pressure

 is applied by touch. It also repeats its argument that the Webster software does not display a

 plurality of alignment images because the default 4 point alignment uses a single alignment image.2

         The Court rejects PolyVision’s arguments and agrees with Smart that the Webster TS and

 WT products infringe claims 6 and 11 of the ‘636 patent. First, PolyVision’s “antecedent basis”

 claim fails because the issue is whether persons of ordinary skill in the art would understand the

 claim term “the computer,” and that issue may be resolved by examining the specification or the

 prosecution history. See Energizer Holdings, Inc. v. Int’l Trade Comm’n, 435 F.3d 1366, 1370 (Fed.

 Cir. 2006) (“When the meaning of the claim would reasonably be understood by persons of ordinary

 skill when read in light of the specification, the claim is not subject to invalidity upon departure from

 the protocol of ‘antecedent basis.’”). Here, the specification and other claims of the patent provide

 ample guidance for a person of ordinary skill in the art to understand the meaning of “the computer.”

 PolyVision provides no argument to the contrary. PolyVision’s contention that the Webster software

 is not configured to execute an alignment procedure during initialization, as required by claim 6, is

 contradicted by the Webster Version 3.4 User Guide, which states: “At startup, Webster software

 detects if you are using the PolyVision IRP [interactive rear projection], IPD [interactive plasma

 display], or FSM [WT flat-screen module] system and automatically initiates projection mode

 alignment.” (Webster Version 3.4 User Guide at 24 (italics added).) PolyVision’s argument that

 there is not a plurality of calibration images including a calibration marker fails because PolyVision

 itself recognizes the presence of these elements in the accused products. According to the Webster

 Version 3.4 User Guide, users may select from three images providing three levels of alignment,

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           PolyVision repeats several of the same arguments for different claims. Accordingly, the Court will only
 address such arguments once when first asserted, recognizing that the same argument may be applicable to multiple
 asserted claims.

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 including the default 4-point alignment, an 8-point alignment, and a 16-point alignment. (Id. at 26-

 27.) Regarding alignment images, Smart has shown that earlier versions of the Webster product

 instructed the user to perform the alignment procedure by touching the four cross hair images

 displayed on the whiteboard. The current version of the Webster software instructs users to “touch

 each corner of the projected image.”            Moreover, PolyVision’s U.S. Patent Application

 2001/0032057, entitled “Initial Calibration of a Location Sensing Whiteboard to a Projected

 Display,” shows that the markers at the corners of the projected image are “alignment images” or

 calibration points. (U.S. Publ. Appl. No. 2001/0032057, at 6 (“These instructions may request that

 the user touch the point at which the two lines intersect, that the user touch points located in the four

 corners of the electronic whiteboard surface, or any other manner which can establish the user

 touching the surface of the electronic whiteboard at a calibration point.”).) These markers are

 “displayed within the edges of the projected image.” (Hildebrandt Dep. at 116-18 (noting that the

 corners of the blue calibration field are within the white border of the image).) Finally, PolyVision’s

 argument that, in its default mode, the Webster software is not “configured to use a previous

 mapping of said display surface to the projected image” must be rejected because under Intel, where

 the accused product is capable of operating in an infringing manner, it must be found to infringe,

 regardless of whether the product was designed or sold to operate in the infringing manner or

 whether the product was in fact operated in such a manner. See Intel Corp., 946 F.2d at 832. The

 claim language at issue merely requires that the software be capable of mapping, and the Webster

 Version 3.4 User Guide specifically states that the software is capable of “[r]emember[ing]

 alignment points” so that “the same projection alignment [can be used] each time.” (Webster

 Version 3.4 User Guide at 72.)



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           As for PolyVision’s argument regarding claim 11 that the Webster software does not align

 the displayed image with the locations where pressure is applied, PolyVision’s expert, Robert

 Dezmelyk, testified that the displayed image following correction for keystoning (misalignment)

 changes because the cursor is relocated to the point of the user’s touch on the screen from, where the

 most recent location data was transmitted. (Dezmelyk Dep. at 48-49.) Thus, as in this claim, the

 Webster TS and WT products are aligned with the location of the touch-pressure applied to the

 screen.

                  2.      Contributory Infringement

           Smart also asserts that PolyVision contributorily infringes all of the Martin patents by

 encouraging its customers to use PolyVision’s whiteboard products in a configuration that infringes

 Smart’s patents. Pursuant to § 271(c),

           [w]hoever offers to sell or sells within the United States . . . a component of a
           patented machine, manufacture, combination or composition, or a material or
           apparatus for use in practicing a patented process, constituting a material part of the
           invention, knowing the same to be especially made or especially adapted for use in
           an infringement of such patent, and not a staple article or commodity of commerce
           suitable for substantial noninfringing use, shall be liable as a contributory infringer.

 35 U.S.C. § 271(c). In order to establish a claim of contributory infringement, the plaintiff must

 show an act of direct infringement. See Golden Blount, Inc. v. Robert H. Peterson Co., 365 F.3d

 1054, 1061 (Fed. Cir. 2004). “Indirect infringement, whether inducement to infringe or contributory

 infringement, can only arise in the presence of direct infringement, though the direct infringer is

 typically someone other than the defendant accused of indirect infringement.” Dynacore Holdings

 Corp. v. U.S. Philips Corp., 363 F.3d 1263, 1272 (Fed. Cir. 2004). In addition, a plaintiff must make

 the requisite showing that the infringer had the requisite intent, i.e., that it knew or should have

 known that its actions would induce actual infringements. See Fuji Photo Film Co. v. Jazz Photo


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 Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005). Finally, the plaintiff must show that the defendant’s

 components have “no substantial noninfringing uses.” Golden Blount, Inc., 365 F.3d at 1061 Cir.

 2004) (internal quotations omitted). A non-staple article is “one which was designed to carry out

 the patented process and has little or no utility outside of that process.” Polysius Corp. v. Fuller Co.,

 709 F. Supp. 560, 576 (E.D. Pa. 1989), aff’d 889 F.2d 1100 (Fed. Cir. 1989). A court must examine

 the device as a whole, rather than limiting its examination to just the part capable of practicing the

 claims of the patent at issue. Hodosh v. Block Drug Co., 833 F.2d 1575, 1578 (Fed. Cir. 1987). See

 also Haworth Inc. v. Herman Miller Inc., 37 U.S.P.Q. 2d 1080, 1089 (W.D. Mich. 1994) (“The focus

 is not the utility or ubiquity of the infringing configuration; the focus is the utility, presence, and

 efficiency of the non-infringing configurations.”)

         Direct Infringement

         Smart relies upon both direct and circumstantial evidence to show that users of the Webster

 TS and WT products combine them with a computer and a projector to operate them in an infringing

 manner as interactive electronic whiteboards in a projection mode. Incidentally, the Court notes that

 there is no dispute that PolyVision’s accused products have the capability to operate interactively

 with a computer and a projector. This is shown by the various user manuals appended to the report

 of Dr. Davis, Smart’s expert. Smart’s direct evidence of infringement consists of deposition

 testimony by Peter Hildebrant, PolyVision’s Director of Research and Development and Director

 of Product Management, concerning problems that users were having with the calibration of the

 screen image, or keystone correction. (Hildebrandt Dep. at 99-108.) In addition, Smart has

 submitted various e-mails between PolyVision and users concerning problems they were

 encountering with alignment when using the accused products in the projection mode. (Smart’s



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 Reply Br. Ex. A.) This evidence amply supports a conclusion of direct infringement.3 Apart from

 its direct evidence, Smart has also presented circumstantial evidence of direct infringement through

 proof that the accused PolyVision products have the capability to be used to practice Smart’s

 patented invention and by showing that PolyVision’s instruction manuals demonstrate the use of the

 accused products in an infringing configuration. (Davis Expert Report Exs. G-P.)

          PolyVision does not seriously contest the above evidence. Instead, it argues that Smart has

 not shown infringement because certain limitations of the Martin patents do not read on the accused

 products, even if they are combined with a computer and a projector.

          PolyVision asserts that its Webster TS and WT products do not infringe claim 1 of the ‘263

 patent for two reasons. First, it contends that its accused products do not have “means for receiving

 said control signals and in response generating and projecting graphic images.” It admits that the

 TS and WT transmit graphical signals containing coordinate information, but it notes that they

 neither generate graphic images nor project graphic images onto a screen. It further argues that the

 Webster software does not generate “alignment images” which could be projected onto whiteboards

 at “predetermined locations” on the whiteboard as required by limitation (f). Both of these

 arguments fail. Regarding the means for receiving control signals and in response projecting graphic

 images, Mr. Hildebrandt testified regarding the image displayed by the Webster software – a blue

 calibration screen with a white line painted around the edge of the image. (Hildebrandt Dep. at 116-

 18.) In addition, PolyVision’s own expert, Mr. Dezmelyk, admitted that the alignment image

 changes after each point or corner is touched by showing an incremented number of touches of


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            PolyVision argues that Hildebrandt’s deposition testimony simply addresses the software from various releases
 of the PolyVision’s products, but this is not entirely accurate. In the cited pages of the deposition transcript, Hildebrandt
 was asked about e-mails that he received from users concerning alignment problems they were having while using the
 W ebster products in the projection mode.

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 points on the alignment image. (Dezmelyk Dep. at 54-55.) Mr. Dezmelyk also testified, as noted

 above, that the location of the cursor changes after keystone correction, further indicating that the

 Webster software is capable of receiving control signals and in response generating and projecting

 graphic images.

           PolyVision’s second argument must fail because, as the Court concluded above, the Webster

 software does project a plurality of alignment images which, according to the Court’s claim

 construction, appear at “predetermined locations” relative to the projected image. PolyVision asserts

 that this limitation is not met because it informs users to manually adjust the projector to correct for

 planar misalignment (by moving it) before attempting to align the projected image. However, this

 argument fails because under Intel, the Webster software need only have the capability of performing

 the alignment function. The fact that it may never be used is immaterial.

           PolyVision next asserts that its products do not infringe claim 27 of the ‘000 patent. This

 claim is directed to the use of interactive whiteboards in a network conferencing system. Claim 27

 claims:

                    An interactive conferencing system as defined in claim 24 further comprising
           an initialization routine in the at least one computer of each of said interactive
           displays, said initialization routine being executed by at least one computer during
           initialization of said interactive conferencing system to select the configuration of
           network to which said interactive displays are connected.

 Citing Mr. Dezmelyk’s expert rebuttal report, PolyVision contends that this claim is not infringed

 because the Webster software does not contain “an initialization routine . . . to select the

 configuration of network to which said interactive displays are connected.” Mr. Dezmelyk states that

 the portions of the Webster User Guides that Smart’s expert, Mr. Davis, cites to support his

 conclusion of infringement, “do not show or establish in any way that the Webster software has an

 initialization routine that ‘select the configuration of [the] network.’” (Dezmelyk Rebuttal Expert

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 Report at 12.) He further states that based upon his own test of the Webster software (Version

 3.3.1.19), “no initialization routine is executed that allows a user to ‘select the configuration of [the]

 network.’” (Id.) As Dr. Davis points out in his supplemental report, however, the Webster Version

 3.4 User Guide provides instructions regarding two configurations of network conferencing systems.

 The guide instructs users in establishing a configuration through a NetMeeting conference that

 permits all participants to use the Webster device. (Davis Supplemental Expert Report at 24 (citing

 Webster Version 3.4 User Guide at 60).) The ‘000 patent refers to this type of configuration as “[a]

 two-node network.” (Col. 6, ll. 39-42.) The guide also instructs users in establishing a network that

 transmits information but does not receive information in a NetMeeting conference, by clicking the

 “Disable” button under “Copy from NetMeeting into Webster.” (Davis Supplemental Expert Report

 at 24 (citing Webster Version 3.4 User Guide at 60).) The ‘000 patent refers to this type of

 configuration as a “broadcast network.” (Col. 6, ll. 44-49.) Dr. Davis thus concludes that “a user

 of the TS and WT products that is operating those systems with, for example, NetMeeting to create

 an interactive conferencing system is able to ‘select the configuration of the network’ through an

 initialization routine in at least one of the computers.” (Davis Supplemental Expert Report at 24.)

 As Dr. Davis points out, PolyVision’s own manual illustrates two types of network configurations

 which a user may select when using the Webster product in a conference setting. This aligns with

 and infringes the limitations of claim 27.

         PolyVision also cites several reasons why the accused products do not infringe the asserted

 claims of the ‘681 patent. The Court has already concluded in its claim construction rulings that the

 term “large-screen display surface” in claim 1 is not indefinite. In addition, the Court has already

 concluded that the Webster software does cause the computer to “display . . . a plurality of

 calibration marks.” In addition to these arguments, PolyVision contends that the accused products

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 do not infringe because the Webster software does not “generate[] a double-click control signal” as

 required by claims 17 and 57. PolyVision’s expert notes that the Webster software does not generate

 “a double-click control signal” but, rather, that function is performed by the Windows operating

 system itself. (Dezmelyk Expert Rebuttal Report at 15.) He further states that the Windows

 functions upon which the Webster software relies do not “provide[] arguments or data structure

 elements that could be considered as ‘double-click control signal[s].’” (Id. at 16.) However, Mr.

 Dezmelyk’s opinion appears to focus upon the operation of the Windows system without considering

 the double click command generated by the Webster software. The ‘681 patent discloses that “[a]

 double click command is interpreted, by the Windows™ program, as a function selection request,

 normally invoked by two touches in succession on a picture icon that represents a program function.”

 (Col. 12, ll. 64-67.) The double-click on the large-screen display surface is thus similar to the

 double-click on a mouse, which also generates a double-click control signal to the Windows

 operating system. The Webster software generates a double-click or a double-tap signal: “While in

 projection mode, you can control your computer from the PolyVision device using the stylus (or your

 finger on Walk-and-Talk or TS whiteboards): . . . Tap the PolyVision device twice rapidly to double-

 click.” (Webster Version 3.4 User Guide at 27.) This limitation is thus present in the accused

 devices.4 As for PolyVision’s remaining arguments, the Court has either already addressed them or

 they are based upon the absence of a computer and a projector from the accused products, and

 therefore are rejected.

         Finally, PolyVision raises a number of arguments concerning the absence of limitations of

 the asserted claims of the ‘636 patent in the accused products. The Court has already concluded that

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          PolyVision correctly notes that the accused products would not infringe these claims when used in the Apple
 Macintosh programming environment, which does not use double-click control signals.



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 the Webster products infringe claims 6 and 11 of the ‘636 patent. Based upon its construction of the

 phrase “sequentially display four calibration marks,” the Court agrees with PolyVision that the

 accused products do not infringe claim 13 because the Webster software displays only three images

 with calibration marks and not four, as required by claim 13.

        PolyVision’s Knowledge

        “To show intent for indirect infringement, ‘a patentee must be able to demonstrate at least

 that the alleged inducer had knowledge of the infringing acts.’” nCube Corp. v. Seachange Int’l, Inc.,

 436 F.3d 1317, 1324 (Fed. Cir. 2006) (quoting MercExchange, LLC v. eBay, Inc., 401 F.3d 1323,

 1332 (Fed. Cir. 2005)). In support of this requirement, Smart has submitted a letter dated September

 6, 2001, from Smart’s U.S. patent counsel to Michael Dunn, PolyVision’s President and CEO,

 advising Mr. Dunn of the claims of the ‘263 and ‘000 patents and requesting a response from

 PolyVision confirming that it had not and would not engage in any activities that would infringe any

 claim of those patents or, alternatively, requesting a license from Smart. PolyVision does not dispute

 that this evidence is sufficient to demonstrate its knowledge of Smart’s patents and PolyVision’s

 own infringing activities.

        No Substantial Non-infringing Use

        The inquiry with regard to whether the defendant’s product is a staple article having

 substantial noninfringing uses focuses on “the thing sold” by the alleged infringer. Lucent Techs.

 Inc. v. Gateway, Inc., Nos. 02CV2060-B (CAB), 03CV0699-B (CAB), 03CV1108-B (CAB), 2007

 WL 925502, at *4 (S.D. Cal. Mar. 19, 2007). See also AquaTex Indus., Inc. v. Techniche Solutions,

 419 F.3d 1374, 1380 n.** (Fed. Cir. 2005) (“The proper question is not whether Vizorb® is a staple

 article of commerce, which is readily apparent, but whether the accused Techniche products are

 ‘suitable for substantial noninfringing use[s].’”).

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        Smart cites the supplemental report of its expert, Dr. Davis, to show that PolyVision’s

 products have no substantial noninfringing use. Dr. Davis states that in his “opinion [] the TS and

 WT products are not staple articles or commodities of commerce suitable for substantial non-

 infringing use” and that “the primary and substantial use of the TS and WT products is as electronic,

 projective, interactive whiteboard systems, as the names of these products imply.”            (Davis

 Supplemental Expert Report at 16, 11.) Dr. Davis also explains why three of five uses identified by

 Mr. Dezmelyk are insubstantial and unlikely to motivate consumers to purchase the Webster product.

 Mr. Dezmelyk identifies the following potential uses of the Webster products by end-users: (1) as

 a conventional non-electronic whiteboard, or a simple dry erase board for “informal meetings, small

 discussions, and brainstorming sessions”; (2) to capture notes written on the board, either for

 electronic storage or for printing when a printer is attached to the computer, with the whiteboard

 connected to a personal computer running the Webster software; (3) as a non-electronic screen for

 displaying projected images, in situations where users wanted to share a presentation without having

 to configure the computer and whiteboard for interactive operation; (4) in the infringing

 configuration, combined with a computer, Webster software, and a projector to “interactively control

 applications software running on the computer”; and (5) as a remote conference system using the

 whiteboard and projector and a remote conferencing product such as NetMeeting or Webex.

 (Dezmelyk Expert Rebuttal Report at 6.) Apart from Mr. Dezmelyk’s opinion, PolyVision notes that

 the documents in the record, including the TS and ST user manuals and the IBID user manual, show

 several non-infringing uses without a projector, each of which comprises a substantial use for the

 customer.

        In spite of PolyVision’s arguments, the Court concludes that Smart has demonstrated that the

 accused products do not have any substantial noninfringing use and that PolyVision has failed to

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 create a genuine issue of material fact. First, with regard to the first and third uses that Mr.

 Dezmelyk identified in his rebuttal report – as a simple dry erase board and as a non-electronic

 projection screen – Dr. Davis notes, and the Court agrees, that it is unlikely that a customer would

 spend thousands of dollars for these electronic interactive whiteboards for such simple purposes

 when much cheaper alternatives are available. Any such uses would thus be merely incidental to the

 primary use of the products. Second, while PolyVision has demonstrated that other uses are

 specifically described in the product user manuals, such as printing copies of a presentation with a

 printer attached to the computer or storing notes or drawings electronically on a computer using the

 Webster software, or using the whiteboard in a conferencing setting, it has offered no evidence that

 such uses – without a projector – are substantial. In fact, the only evidence before the Court shows

 that PolyVision customers use the accused products in the interactive projection mode. Finally, Mr.

 Hildebrandt testified that in designing the Webster software, PolyVision was particularly aware of,

 and concerned about not infringing, Smart’s patents, (Hildebrandt Dep. at 88), indicating that the

 focus in the design of the Webster software was on projective, interactive whiteboards.5 In short,

 PolyVision has failed to present any evidence that any of the noninfringing uses that it has identified

 are substantial, and Smart is entitled to summary judgment on contributory infringement.

                  3.       Inducement to Infringe

         Pursuant to 35 U.S.C. § 271(b), “[w]hoever actively induces infringement of a patent shall

 be liable as an infringer.” In order to establish a claim of inducement, a plaintiff must show that: (1)

 there has been direct infringement; and (2) that the alleged infringer knowingly induced infringement

 and had the specific intent to encourage another to infringe. See MEMC Elec. Materials, Inc. v.

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            PolyVision argues that only portions of the W ebster user manuals are dedicated to use of the TS and W T
 whiteboards with a projector, but such an argument does not quantify the extent of any noninfringing use, nor is it
 particularly helpful in determining whether an issue of fact remains with regard to substantial noninfringing use.

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 Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005). Intent may be shown

 either through direct or circumstantial evidence. See Water Techs. Corp. v. Calco, Ltd., 850 F.2d

 660, 668 (Fed. Cir. 1988).

        As set forth above, Smart has already shown direct infringement by PolyVision. The only

 remaining issue is whether Smart has shown that PolyVision had the requisite intent that Smart’s

 patents be infringed. In support of this element of its claim, Smart has presented evidence that

 PolyVision was aware of Smart’s ‘263 and ‘000 patents at least as early as the September 6, 2001,

 letter and that Smart alleged that PolyVision’s whiteboards were being used in an infringing manner.

 Regarding PolyVision’s intent to induce, Smart has presented PolyVision’s Webster user manuals

 which show customers how to use the whiteboards in an infringing manner. In addition to the user

 manuals, Smart has presented a WT brochure describing an infringing use of the product. (Davis

 Expert Report Ex. L.) Moreover, as discussed above, PolyVision knew that its customers were using

 its whiteboard in an infringing manner and provided assistance to them in solving problems that they

 were having in using the accused devices in an infringing manner. PolyVision has failed to present

 any evidence to refute Smart’s evidence on this issue. Accordingly, the Court concludes that Smart

 is also entitled to summary judgment on its claim of inducement.

                                            Conclusion

        For the foregoing reasons, the Court will grant and deny the pending motions for summary

 judgment as follows: (1) the Court will deny PolyVision’s motion for partial summary judgment that

 claims 6, 10, and 20 are infringed by Smart’s 500 Series Smart Board and grant Smart’s motion for

 summary judgment of non-liability regarding the ‘309 patent; (2) the Court will grant PolyVision’s

 motions for partial summary judgment regarding the validity of the ‘309 patent; (3) the Court will

 grant PolyVision’s motion for partial summary judgment of non-infringement of claims 8 and 14-19

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 of the ‘636 patent; and (5) the Court will grant Smart’s motion for summary judgment that

 PolyVision’s IBID, TS, and WT products infringe the Martin patents, with the exception that

 PolyVision’s accused products do not infringe claim 13, 14, and 16 of the ‘636 patent.

        An Order consistent with this Opinion will be entered.




 Dated: June 1, 2007                                       /s/ Gordon J. Quist
                                                          GORDON J. QUIST
                                                     UNITED STATES DISTRICT JUDGE




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